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     BRIAN LIVESAY
6
                          IN THE UNITED STATES DISTRICT COURT
7                           SOUTHERN DISTRICT OF CALIFORNIA
8

9
     BRIAN LIVESAY,                            )   Case No.: '15CV1385 JLS MDD
10                                             )
                                               )   COMPLAINT AND DEMAND FOR
11                Plaintiff,                   )   JURY TRIAL
                                               )
12         v.                                  )   (Unlawful Debt Collection Practices)
                                               )
13                                             )
     CASHCALL, INC.,                           )
14                                             )
                                               )
15                Defendant.                   )
                                               )
16

17         BRIAN LIVESAY (Plaintiff), by his attorneys, KROHN & MOSS, LTD., alleges the

18   following against CASHCALL, INC. (Defendant):

19                                         INTRODUCTION

20      1. Count I of Plaintiff’s Complaint is based on Telephone Consumer Protection Act, 28

21         U.S.C. § 227 et seq. (TCPA).

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                                     PLAINTIFF’S- COMPLAINT
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                                  JURISDICTION AND VENUE
1
      2. Jurisdiction of this Court over Counts I of Plaintiff’s Complaint arises pursuant to 28
2
         U.S.C. § 1331, and 28 U.S.C. § 1367 grants this court supplemental jurisdiction over the
3
         state claims contained herein.
4
      3. Defendant conducts business in the State of California thereby establishing personal
5
         jurisdiction.
6
      4. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
7
                                             PARTIES
8
      5. Plaintiff is a natural person residing in San Diego, San Diego County, California.
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      6. Defendant is a business entity with a principal place of business in Anaheim, California.
10
      7. Defendant acted through its agents, employees, officers, members, directors, heirs,
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         successors, assigns, principals, trustees, sureties, subrogees, representatives, and
12
         insurers.
13
                                   FACTUAL ALLEGATIONS
14
      8. In or around 2014, Defendant began constantly and continuously places collection calls
15
         to Plaintiff seeking and demanding payment for an alleged debt.
16
      9. Defendant places collection calls from telephone numbers, including, but not limited to,
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         424-245-2213, 443-482-6422, 626-389-3322, 702-953-5577, 954-343-8756, 323-213-
18
         2017, 678-261-5811, 719-362-4546, 804-441-9724, 818-276-3417, 866-899-1844, 719-
19
         362-4546.
20
      10. Defendant places collection calls to Plaintiff’s cellular telephones at phone numbers 619-
21
         281-83XX and 858-752-75XX.
22
      11. Base upon the timing and frequency of Defendant’s calls and per its prior business
23
         practices, each of Defendant’s calls were placed using an automatic telephone dialing
24
         system.
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                                     PLAINTIFF’S- COMPLAINT
                                                  2-
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1       12. On or around January 13, 2015 at approximately 12:48 p.m., Plaintiff spoke to

2          Defendant’s representative, “Pam” and requested that Defendant cease calling his

3          cellular telephone.

4       13. On or around February 16, 2015 at approximately 10:05 a.m., Plaintiff spoke to

5          Defendant’s representative, “Roxy” and requested that Defendant cease calling his

6          cellular telephone.

7       14. Plaintiff revoked any consent, express, implied or otherwise, to receive automated

8          collection calls from Defendant in the course of the telephone conversations on or

9          around January 13, 2015 and February 16, 2015.

10      15. Despite Plaintiff’s repeated requests to cease, Defendant continued to place at least sixty-

11         one (61) collection calls to Plaintiff over an approximate two-month period.

12                                              COUNT I

13     DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTIONS ACT

14      16. Defendant’s actions alleged supra constitute numerous negligent violations of the TCPA,

15         entitling Plaintiff to an award of $500.00 in statutory damages for each and every

16         violation pursuant to 47 U.S.C. § 227(b)(3)(B).

17      17. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or

18         willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

19         damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

20         U.S.C. § 227(b)(3)(C).

21         Wherefore, Plaintiff, BRAIN LIVESAY, respectfully requests judgment be entered

22   against Defendant, CASHCALL, INC. for the following:

23      18. Statutory damages of $500.00 for each and every negligent violation of the TCPA

24         pursuant to 47 U.S.C. § (b)(3)(B);

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                                        PLAINTIFF’S- COMPLAINT
                                                     3-
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1       19. Statutory damages of $1500.00 for each and every knowing and/or willful violation of

2            the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

3       20. All court costs, witness fees and other fees incurred; and

4       21. Any other relief that this Honorable Court deems appropriate.

5

6
                                                  RESPECTFULLY SUBMITTED,
7
       DATED: June 24, 2015
                                                  KROHN & MOSS, LTD.
8

9

10                                         By: /s/Ryan Lee
                                                  Ryan Lee
11                                                Attorney for Plaintiff

12

13
                                    DEMAND FOR JURY TRIAL
14
             PLEASE TAKE NOTICE that Plaintiff, BRIAN LIVESAY, demands a jury trial in this
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     case.
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                                        PLAINTIFF’S- COMPLAINT
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